Case 23-40709   Doc 70-13 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                     M - DE Certificate of Revival Page 1 of 3




                           Exhibit M
Case 23-40709          Doc 70-13 Filed 01/16/24 Entered 01/16/24 13:03:39                 Desc Exhibit
                            M - DE Certificate of Revival Page 2 of 3




                                               Delaware                                         Page 1

                                                           The First State



                 I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

        DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

        COPY OF THE CERTIFICATE OF REVIVAL OF "WESTBOROUGH SPE LLC",

        FILED IN THIS OFFICE ON THE TWENTY-SECOND DAY OF NOVEMBER, A.D.

        2022, AT 5 O'CLOCK P.M.




                                                    F.                         Jce+ray




   2811561 8100                                                                 Authentication: 204937171
   SR# 20224086804                                                                          Date: 11-26-22
   You may verify this certificate online at corp.delaware.gov/authver.shtml
           Case 23-40709              Doc 70-13 Filed 01/16/24 Entered 01/16/24 13:03:39         Desc Exhibit
                                           M - DE Certificate of Revival Page 3 of 3


                                       STATE OF DELAWARE
                                    CERTIFICATE OF REVIVAL OF
                              A DELAWARE LIMITED LIABILITY COMPANY
                                  PURSUANT TO TITLE 6, SEC. 18-1109

                        I. Name of the Limited Liability Company WESTBOROUGH SPE LLC




                       2. Date of the original filing with the Delaware Secretary of State:
                             10/22/1997



                       3. The name and address of the Registered Agent is
                             THE INCORPORATORS LTD.
                             300 CREEK VIEW ROAD, SUITE 209
                             NEWARK, DE 19711




                       4. (Insert any other matters the members determine to include herein).




                       5. This Certificate of Revival is being filed by one or more persons authorized to
                            Execute and file the Certificate of Revival.


                  In witness whereof, the above name Limited Liability Company does hereby certify that
                  the Limited Liability Company is paying all annual Taxes, penalties and interest due to
                  the State of Delaware.


                                                                   BY:
                                                                               Authorized Person
                                                                   Name: Denise Edwards

                                                                                 Print or Type


          State of Delaware
          Secretary of State
      Division of Corporations
    Delivered 05:00 PM 11/22/2022
     FILED 05:00 PM 11/22/2022
SR 20224086804 - FileNumber 2811561
